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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 31, 2022
______________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

      In re:                                         §
                                                     §
                                                                        Chapter 11
      HIGHLAND CAPITAL MANAGEMENT,                   §
      L.P.                                           §
                                                                  Case No. 19-34054-sgj11
                                                     §
               Debtor.                               §
                                                     §
      HIGHLAND CAPITAL MANAGEMENT,                   §
      L.P.,                                          §
                                                     §
               Plaintiff,                            §
                                                     §
      v.                                             §             Adv. No. 21-03010-sgj
                                                     §
      HIGHLAND CAPITAL MANAGEMENT                    §
      FUND ADVISORS, L.P. and NEXPOINT               §
      ADVISORS, L.P.,                                §
                                                     §
               Defendants.                           §

                             AGREED AMENDED SCHEDULING ORDER

               CAME ON FOR CONSIDERATION the Joint Motion to Continue Trial and Extend

     Scheduling Order (the “Motion”), filed jointly by Highland Capital Management, L.P., Highland

     Capital Management Fund Advisors, L.P., and NexPoint Advisors, L.P. (each a “Party” and


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collectively the “Parties”). Having considered the Motion, finding that the relief requested is

lawful and appropriate, and finding that there is no further need for notice of the Motion or of any

hearing on the Motion, it is hereby:

        ORDERED that the Motion is GRANTED; it is further

        ORDERED that the trial of this Adversary Proceeding is RESET to commence on April

12, 2022 at 9:30 a.m. and continuing on April 13, 2022; it is further

        ORDERED that:

                (i)     depositions will be completed by March 15, 2022;

                (ii)    except with respect to impeachment and rebuttal exhibits and witnesses,

                        each Party shall file, and serve on each other Party, a list of its trial witnesses

                        and exhibits, and shall exchange exhibits, on or before March 22, 2022;

                (iii)   objections to exhibits shall be filed on or before March 29, 2022, or shall be

                        deemed waived;

                (iv)    a joint pretrial order, in compliance with the Court’s Local Rules, shall be

                        filed on or before April 5, 2022;

                (v)     any Party wishing to file a trial brief shall file one on or before April 5,

                        2022;

it is further

        ORDERED that this Order supersedes any prior scheduling order and that, any deadline

having expired in any such prior order not extended by this Order shall remain expired; it is further

        ORDERED that the Court retains jurisdiction over all disputes concerning the

interpretation and enforcement of this Order.

                                    # # # END OF ORDER # # #




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AGREED:

MUNSCH HARDT KOPF & HARR, P.C.             PACHULSKI STANG ZIEHL & JONES
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                                           -and-

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                                           /s/ Zachery Z. Annable (w /permission)
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                                           L.P.




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